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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

                                                  :
FISCALNOTE, INC.,                                 :
                                                  :
                              Plaintiff,          :
                                                  :
    v.                                            :    Civil Action No. 1:20-cv-01579
                                                  :
DANIEL GERMAIN and                                :    Jury Trial Demanded
GERMAIN CONSULTING, LLC                           :
                                                  :
                              Defendants.         :
                                                  :

                                            ANSWER

         Defendants, Daniel Germain and Germain Consulting, LLC, (hereinafter “Defendants”),

by and through its undersigned, answers Plaintiff FiscalNote, Inc.’s (“Plaintiff”) Complaint

(ECF 1) as follows:

                                      Statement of the Case

         Defendants vigorously deny all the allegations in Plaintiff’s un-numbered “Statement of

the Case”: Defendants deny that they committed any “theft,” “intentionally stole” anything from

Plaintiff, and that they “forced [Plaintiff] to compete directly against its own trade secrets.”

Defendants further deny that they downloaded any files or information without authorization,

engaged in any unlawful solicitation, defamed or disparaged Plaintiff, made any false statements

about Plaintiff, or improperly used any “inside experience” about Plaintiff. Defendants deny

Plaintiff’s paranoid allegations that they “fed misleading and outdated documents and

information to the media”—such as by “curat[ing] a selective set of documents which paint a

false and misleading impression of the state of [Plaintiff’s] customer relationships” and

“provid[ing] that misleading information to the Washington Business Journal.” Defendants deny
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that they led a “campaign to damage the company” or that they were “unjustly enrich[ed]” in any

manner. And Defendants deny that Plaintiff is entitled to any relief whatsoever.

                                              Parties

       1.    Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averments set forth in this paragraph and therefore deny them.

       2.    Admitted.

       3.    Admitted.

                                     Jurisdiction and Venue

       4.    The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied.

       5.    The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied.

       6.    The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied.

       7.    The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied.

                                  Facts Common to All Counts

       8.    Admitted in part, denied in part. Admitted only that Plaintiff is a software, data,

and media company that offers certain aggregation, artificial intelligence, and news and data feed

products, some of which can be used to help track government actions. Denied in all other

respects.

       9.    Admitted in part, denied in part. Admitted only that FiscalNote markets and sells

products related to tracking and taking certain action regarding laws, regulations, and

government actions. Defendants are presently without knowledge or information sufficient to


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form a belief as to the truth of the remaining averments set forth in this paragraph and therefore

deny them.

       10.    Admitted in part, denied in part. Admitted only that one of FiscalNote’s products is

an advocacy tool called “Engage” that allows customers to send messages to elected officials.

Defendants are presently without knowledge or information sufficient to form a belief as to the

truth of the remaining averments set forth in this paragraph and therefore deny them.

       11.    Admitted in part, denied in part. Admitted only that FiscalNote acquired CQ Roll

Call. Defendants deny the characterization of CQ Roll Call’s business. Defendants are presently

without knowledge or information sufficient to form a belief as to the truth of the remaining

averments set forth in this paragraph and therefore deny them.

       12.    Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averment set forth in this paragraph and therefore deny it.

       13.    Admitted.

       14.    Denied.

       15.    Admitted in part, denied in part. Admitted only that Mr. Germain became Senior

Technical Fellow in or around June 2019. Denied in all other respects.

       16.    Admitted in part, denied in part. Admitted only that Mr. Germain continued to

work at FiscalNote after he became Senior Technical Fellow. Denied in all other respects.

       17.    Denied.

       18.    Admitted in part, denied in part. Admitted only that, in August 2019, FiscalNote

stored some information in cloud-based GDrive accounts accessible to employees as well as to

third parties. Many of the remaining averments in this paragraph are legal conclusions as to

which no response is required. To the extent that a response to any of the remaining averments is




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required, Defendants are presently without knowledge or information sufficient to form a belief

as to the truth of those averments and therefore deny them.

       19.   Denied.

       20.   Denied.

       21.   Denied.

       22.   Denied.

       23.   Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averments set forth in this paragraph and therefore deny them.

       24.   Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averments set forth in this paragraph and therefore deny them.

       25.   Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averment that “[t]he 3,972 documents included copies Germain had

created of certain company emails, including emails containing confidential business

information.” Denied in all other respects.

       26.   Denied.

       27.   Denied.

       28.   Denied.

       29.   Denied.

       30.   Admitted.

       31.   Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averments regarding the contents of “FiscalNote’s Acceptable Use

Policy.” Denied in all other respects.

       32.   Denied.

       33.   Denied.


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       34.    Denied.

       35.    Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averments set forth in this paragraph and therefore deny them.

       36.    Admitted in part, denied in part. Admitted that Mr. Germain was an experienced,

senior information technology responsible, in part, for FiscalNote’s cybersecurity. Denied in all

other respects.

       37.    Denied.

       38.    Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averments set forth in this paragraph and therefore deny them.

       39.    Admitted in part, denied in part. Admitted only that Mr. Germain formed Germain

Consulting, LLC and registered a website for Germain Consulting, LLC in or about early

November 2019. Denied in all other respects.

       40.    Denied.

       41.    Denied.

       42.    Denied.

       43.    Admitted in part; denied in part. Admitted only that the Washington Business

Journal (“WBJ”) published an article about FiscalNote in February 2020. Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averment regarding the purported support for the WBJ’s statements. Denied in all other respects.

       44.    Denied.

       45.    Defendants are presently without knowledge or information sufficient to form a

belief as to the truth of the averments set forth in this paragraph and therefore deny them.

       46.    Denied.

       47.    Denied.


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       48.      Denied.

       49.      Denied.

                                            Count I
                Violation of the Computer Fraud and Abuse Act (18 U.S.C. § 1030)

       50.      Defendants incorporate the responses to paragraphs 1-49 by reference as if fully set

forth herein.

       51.      The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied.

       52.      The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averments set forth in this paragraph and therefore deny them.

       53.      The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied. To the extent that a response is required, Defendants deny that

Mr. Germain “obtained information by downloading 98 files” from a FiscalNote owned GDrive

on or about October 10, 2019. Defendants are presently without knowledge or information

sufficient to form a belief as to the truth of the other averments set forth in this paragraph and

therefore deny them.

       54.      The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averment set forth in this paragraph and therefore denies it.

       55.      The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied. To the extent that a response is required, denied.



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        56.   The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, denied.

        57.   The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, denied.

                                             Count II
                    Violation of the Defend Trade Secrets Act (18 U.S.C. § 1836)

        58.    Defendants incorporate the responses to paragraphs 1-49 by reference as if fully

set forth herein.

        59.   The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averments set forth in this paragraph and therefore deny them.

        60.   The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averments set forth in this paragraph and therefore deny them.

        61.   The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averment set forth in this paragraph and therefore denies it.

        62.   The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. Moreover, it is tautological. To the extent that a response is

required, Defendants are presently without knowledge or information sufficient to form a belief

as to the truth of the averment set forth in this paragraph and therefore denies it.

        63.   Denied.

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        64.    Denied.

        65.    Denied.

        66.    The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied. To the extent that a response is required, denied.

        67.    The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, denied.

                                         Count III
         Violation of the D.C. Uniform Trade Secrets Act (D.C. Code Ann. § 36-401)

        68.    Defendants incorporate the responses to paragraphs 1-49 and 59-67 by reference as

if fully set forth herein.

        69.    The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averment set forth in this paragraph and therefore denies it.

        70.    The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averment set forth in this paragraph and therefore denies it.

        71.    The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averments set forth in this paragraph and therefore deny them.

        72.    The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, denied.

        73.    Denied.

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        74.     Denied.

        75.     The averments in this paragraph are legal conclusions as to which no response is

required and are therefore denied. To the extent that a response is required, denied.

        76.     The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, denied.

                                            Count IV
                Tortious Interference with Contractual and/or Economic Relations

        77.     Defendants incorporate the responses to paragraphs 1-49, 59-67, and 69-76 by

reference as if fully set forth herein..

        78.     The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, Defendants are

presently without knowledge or information sufficient to form a belief as to the truth of the

averment set forth in this paragraph and therefore denies it.

        79.     Denied.

        80.     Denied.

        81.     The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, denied.

                                              Count V
                                      Breach of Fiduciary Duty

        82.     Defendants incorporate the responses to paragraphs 1-49 by reference as if fully set

forth herein.

        83.     The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied.

        84.     The averment in this paragraph is a legal conclusion as to which no response is

required and is therefore denied. To the extent that a response is required, denied.


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        85.      Denied.

        86.      Denied.

        87.      The averment in this paragraph is a legal conclusion as to which no response is

 required and is therefore denied. To the extent that a response is required, denied.

                                              Count VI
                                          Unfair Competition

        88.      Defendants incorporate the responses to paragraphs 1-49 by reference as if fully set

 forth herein.

        89.      Denied.

        90.      The averments in this paragraph are legal conclusions as to which no response is

 required and are therefore denied. To the extent that a response is required, denied.

        91.      The averments in this paragraph are legal conclusions as to which no response is

 required and are therefore denied. To the extent that a response is required, denied.

        92.      The averment in this paragraph is a legal conclusion as to which no response is

 required and is therefore denied.

        93.      The averment in this paragraph is a legal conclusion as to which no response is

 required and is therefore denied. To the extent that a response is required, denied.

        94.      The averment in this paragraph is a legal conclusion as to which no response is

 required and is therefore denied. To the extent that a response is required, denied.

                                     AFFIRMATIVE DEFENSES

        1.       Plaintiff’s Complaint fails to state legal claims upon which relief can be granted.

        2.       At all times, Defendants acted lawfully.

        3.       At all times, Defendants acted in good faith and without malice.

        4.       The information and/or files that Plaintiff claims Defendants have improperly

 acquired, disclosed, and/or used are neither trade secrets nor confidential.

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          5.    Plaintiff has not taken reasonable steps to keep secret the information and/or files

 that it alleges Defendants have improperly acquired, disclosed, and/or used. Indeed, Plaintiff

 routinely shared information and files stored on its cloud-based storage accounts with third

 parties who had no obligation to protect that information or those files’ confidentiality or

 secrecy.

          6.    The information and/or files Plaintiff alleges Defendants improperly acquired,

 disclosed, and/or used do not derive independent economic value from being not generally

 known.

          7.    The information and/or files Plaintiff alleges Defendants improperly acquired,

 disclosed, and/or used are readily ascertainable through proper means, including in and through

 publicly-available information or information generally known in the industry.

          8.    The information and/or files Plaintiff alleges Defendants improperly acquired,

 disclosed, and/or used do not have economic value to Defendants or others.

          9.    Defendants have not misappropriated any of Plaintiff’s trade secrets or confidential

 information.

          10.   Defendants did not acquire any of Plaintiff’s trade secrets or confidential

 information through improper means and have not disclosed or used any of Plaintiff’s trade

 secrets or confidential information that were acquired through improper means.

          11.   To the extent that Defendants accessed a computer belonging to Plaintiff,

 Defendants had authorized access and/or permission to do so.

          12.   To the extent that Defendants accessed a computer belonging to Plaintiff,

 Defendants did not act with the knowledge or intent that such access was unauthorized or was

 without permission.




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          13.   Defendants have not made any false, misleading, and/or disparaging statements

 about Plaintiff.

          14.   Plaintiff’s tort claims are preempted, in whole or in part, by the D.C. Uniform

 Trade Secrets Act and/or the Virginia Uniform Trade Secrets Act.

          15.   Plaintiff’s tort claims against Mr. Germain are barred by the gist of the action

 doctrine and/or the economic loss doctrine.

          16.   Defendants have not used any of Plaintiff’s trade secrets or confidential

 information to solicit Plaintiff’s customers or to otherwise improperly or unfairly compete

 against Plaintiff.

          17.   Plaintiff’s claims are barred, in whole or in part, because Defendants’ conduct was

 justified and privileged.

          18.   Plaintiff’s claims are barred, in whole or in part, because Defendant’s conduct was

 nothing more than free and lawful competition.

          19.   The Complaint is barred in whole or in part by the doctrines of estoppel, laches,

 and/or waiver.

          20.   Plaintiff’s claims are barred or limited by the applicable statutes of limitation.

          21.   Plaintiff is barred from any remedy, or certain remedies, by the doctrine of unclean

 hands.

          22.   The Complaint is barred as a result of wrongful and/or unlawful conduct on

 Plaintiff’s part.

          23.   The Complaint is barred because Plaintiff has not suffered, nor is Plaintiff likely to

 suffer, any damages whatsoever.

          24.   The Complaint is barred because Plaintiff has brought this case for improper and

 unlawful purposes, including, inter alia, to satisfy a personal vendetta against Mr. Germain and


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 to otherwise retaliate against Mr. Germain, to stifle lawful competition, and to improperly collect

 information about Plaintiff’s other competitors in the market.

        25.   The injuries, losses, or damages alleged to have been sustained by Plaintiff were

 not factually or proximately caused by Defendants.

        26.   No conduct or actions on the part of Defendants caused or contributed to Plaintiff’s

 alleged injuries or damages.

        27.   Plaintiff’s claimed damages are speculative in nature, thereby barring their

 recovery.

        28.   Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s failure to mitigate

 their damages.

        29.   Punitive and/or exemplary damages are unwarranted and unsupportable.

        30.   Plaintiff’s claim for attorneys’ fees is barred, in whole or in part, by applicable law

 or is otherwise unwarranted.

        31.   Defendants reserve the right to amend and to assert any additional separate

 defenses based upon the discovery of additional facts ascertained through continuing and

 ongoing investigation and discovery.

                                 DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38, Defendants demand a trial by jury on all issues so triable.

                                             *   *     *

        WHEREFORE, Defendants respectfully request that the Court dismiss Plaintiff’s

 Complaint with prejudice, enter judgment in favor of Defendants on all counts of the Complaint,

 and award Defendants their attorney’s fees and costs and all such other relief as the Court deems

 just and proper.




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 Dated: May 19, 2021                Respectfully submitted,

                                    Daniel Germain and Germain Consulting, LLC
                                    By Counsel

                                    BLANK ROME LLP


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                                    Germain Consulting, LLC




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                                CERTIFICATE OF SERVICE

      I hereby certify that on this 19th day of May, 2021, I filed the foregoing using the Clerk’s
 CM/ECF system, which will provide notice of this filing to the following counsel of record:

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